Case No. 1:08-cv-01739-ZLW Document 1 filed 08/05/08 USDC Colorado pg 1of2

IN THE UNITED STATES DISTRICT COURT

FILED
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ame my TRICT COURT
Civil Action No. 0 J“ 3 9 DENVER,

COLORADO
(To be supplied by the court) AUG -5 2008
GREGORY c. LANGHAM
A . CLERK
Noo re, Frederick. D, » Plaintiff,
Vv.

‘or thie Medien. Prt Boulder

Lona Teil, Conde K ARS,
LA edivel /. AS fem rmAr YW , Defendant(s).

- PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915

I request leave to commence this civil action without prepayment of fees or security
therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

1, Jam unable to pay such fees or give security therefor.

2. Iam entitled to redress.

3. ' The nature of this action is: Gro 55 Medi col. N 7°4 Ligente

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tive action.
(Rev. 4/15/02)

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4. My assets and their value are listed below: {attach an additional page if necessarv\

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities,
life insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts. real estate,
stocks, bonds, notes, autornobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

N/A.

5. Are you in imminent danger of serious physical injury?

. WwW es __ No (CHECK ONE). If you answered yes, briefly explain your answer:
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Deph ‘08-(V013$4 08-CV-01246

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executedon &- 3-looyY
(Date)

Dusckecich P Prtagre

(Prisoner’s Original Signature)

Required Certification .

You must attach to this motion and affidavit a certified copy of your trust fund account
statement (or institutional equivalent) for the six-month period immediately preceding the filing /
of this action. You must obtain the certified copy of your trust fund account statement (or
institutional equivalent) from the appropriate official of each penal institution at which you are or
were confined during the six-month period. .

(Rev. 4/15/02) 2
